                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

                         Plaintiffs,

                              vs.
                                                            Civil Action No. 8:25-cv-01230
 U.S. DEPARTMENT OF EDUCATION,
 et al.,

                       Defendants.




              PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs American Educational Research

Association and Society for Research on Educational Effectiveness (together, “Plaintiffs”), on

behalf of their members, hereby move for a preliminary injunction to redress Defendants’ recent

actions: Defendants’ cancellation of $1.2 billion in contracts en masse, abruptly halting vital

research studies and agency support services (“the Research Termination Action”) and Defendants’

reduction in force (“RIF’) that designated nearly 90 percent of IES staff for termination (“the IES

Staff Termination Action”).

       As explained in the memorandum of law accompanying this motion, Plaintiffs’ members

are education researchers whose work has been gravely harmed by IES’s failure to carry out its

functions and to, as required by law, disseminate timely, relevant, high-quality data and research

to researchers. Plaintiffs’ members stand to suffer further irreparable harm without preliminary

relief. The requested relief is necessary to restore the status quo.

       Specifically, Plaintiffs respectfully seek a preliminary injunction requiring:
       1. That Defendants reverse the Institute of Education Sciences (“IES”) Mass Termination

          Action, as defined and described in the accompanying memorandum, by revoking the

          reduction in force (“RIF”) notices sent to IES employees and by removing them from

          administrative leave and placing them back in their roles to carry out IES functions;

       2. That Defendants promptly reinstate all contracts terminated in the Research

          Termination Action, as defined and described in the accompanying memorandum.

       3. That Defendants take prompt action to preserve from destruction all data collected in

          the course of the conducting research studies cancelled in the Research Termination

          Action.




Dated: April 29, 2025                          Respectfully submitted,
                                               /s/ Daniel A. McGrath
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                                CERTIFICATE OF SERVICE

       I, Daniel A. McGrath, certify that I filed the foregoing with the Clerk of Court for the

United States District Court for the District of Maryland by using the CM/ECF system, which

sent a notice of such filing to all registered CM/ECF users who have appeared in this case. I also

emailed a copy of the motion and its attachments to counsel at the Department of Justice.

                                                                          /s/ Daniel A. McGrath
                                                                              Daniel A. McGrath
                                                                             Counsel for Plaintiffs
